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                                                 U.S. Department of Justice

                                                 United States Attorney
                                                 Southern District of New York

                                                    November 17, 2021
                                                   The Silvio J. Mollo Building
                                                   One Saint Andrew’s Plaza
BY EMAIL                                           New York, New York 10007


                                                 June 24, 2022

By ECF

The Honorable Alison J. Nathan, Sitting by Designation
United States District Court
Southern District of New York
United States Courthouse
40 Foley Square
New York, New York 10007

       Re:    United States v. Ghislaine Maxwell, S2 20 Cr. 330 (AJN)

Dear Judge Nathan:

       The Government respectfully submits this letter in response to the Court’s June 24, 2022

Order directing the Government to promptly docket the written victim impact statements it has

received. Enclosed please find victim impact statements from Annie Farmer, Kate, Virginia

Roberts Giuffre, Maria Farmer, Teresa Helm, Juliette Bryant, and Sarah Ransome.

                                                 Respectfully submitted,

                                                 DAMIAN WILLIAMS
                                                 United States Attorney

                                           By:      s/
                                                 Maurene Comey / Alison Moe
                                                 Lara Pomerantz / Andrew Rohrbach
                                                 Assistant United States Attorneys
                                                 Southern District of New York

Cc: Defense Counsel (by ECF)
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                                                                                   Sigrid S. McCawley
                                                                           Telephone: (954) 356-0011
                                                                         Email: smccawley@bsfllp.com

                                           June 22, 2022

The Honorable Alison J. Nathan
United States District Court
Southern District of New York
United States Courthouse
40 Foley Square
New York, New York 10007

       Re:      United States v. Ghislaine Maxwell, S2 20 Cr. 330 (AJN)

Dear Judge Nathan:

        I am counsel for Annie Farmer, and I am providing the following victim impact statement
for the Court’s consideration with respect to Maxwell’s sentencing.

        Pursuant to the Crimes Victims’ Rights Act, 18 U.S.C. Sec. 3771, Ms. Annie Farmer
qualifies as a victim and was a testifying witness during the trial. Ms. Farmer thus requests the
Court’s permission to make an oral statement at the sentencing.

Statement by Annie Farmer:

Judge Nathan,

        For a long time, I wanted to erase from my mind the crimes that Ghislaine Maxwell and
Jeffrey Epstein committed against me and pretend they hadn’t happened. Beyond my initial
description to my boyfriend and family of what occurred when I was with them in New Mexico, I
didn’t talk about it for years. It was the type of dark memory that feels safest to keep locked away,
and so I did the best I could.

         The world did not cooperate with this strategy, however. Something would bring to mind
this experience and my body would respond with an upset stomach and physical shakiness. I’d feel
irritable, have trouble focusing, and feel disoriented. In recent years, I have been asked repeatedly
to describe these crimes to law enforcement and the media, and I have learned heartbreaking details
about the ways Maxwell and Epstein abused and exploited so many others. Focusing on these
experiences that I tried so hard to avoid thinking about has forced me to acknowledge the many
ripple effects of their crimes for myself and my family and the continued impact of these long-ago
events on my life.

        One of the most painful and ongoing impacts of Maxwell and Epstein’s abuse was a loss
of trust in myself, my perceptions, and my instincts. When predators groom and then abuse or
exploit children and other vulnerable people, they are, in a sense, training them to distrust
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themselves. When a boundary is crossed or an expectation violated, you tell yourself, “Someone
who cares enough about me to do all these nice things surely wouldn’t also be trying to harm me.”
This pattern of thinking is insidious, so these seeds of self-doubt took root even as I learned my
sister had also been harmed by them, and came to find out years later that many others had been
exploited. For years these memories triggered significant self-recrimination, minimization and
guilt. I blamed myself for believing these predators actually wanted to help me. I felt tremendous
survivor guilt when I heard what other girls and young women had experienced at the hands of
Maxwell and Epstein. I saw how my sister’s concern about me weighed on her and felt guilty about
this as well.

        This toxic combination of being sexually exposed and exploited, feeling confused and
naïve, blaming myself all resulted in significant shame. That sickening feeling that makes you
want to disappear. It was not constant, but would come in waves, similar to the waves of anxiety
that would also show up. When I think back, I see a slideshow of moments when these feelings
would surface and overwhelm me. I remember sitting at my desk in a Houston hospital physically
shaking after seeing the photo of Maxwell with Virginia Giuffre and Prince Andrew because it
became clear to me how their scheme had continued; the time an unexpected security screening
from a TSA agent who patted down my chest with the back of her hand left me crying and
disoriented at the airport; a 40th birthday gathering where I broke down crying telling the story to
some friends for the first time. There are too many of these moments to name, and though I have
come a long way in my path of healing, I know that these feelings will continue to be triggered at
times.

         The ripple effects of trauma are undeniable, when one person is abused, many others are
harmed. In addition to the way I was impacted as an individual, there was the pain I experienced
as a sister due to how Maria was abused by Maxwell and Epstein, and the harm caused to the rest
of my family due to these events. My sister’s abuse—the sexual assault, Maxwell’s threats that
stole her sense of safety and her career, the way they used her to get to me—had devastating effects
on her and as my family watched her grow more isolated and more physically ill from the stress
of all of it, we all felt powerless. It was heartbreaking and infuriating, and we later learned how
often this pattern was repeated. A young person on the path of pursuing her dreams was pulled in
by Maxwell, was abused and exploited, and then had to try to piece together a life in the aftermath
of this trauma that left them feeling distrustful and fearful. Most of these individuals had families
who were also negatively impacted as they witnessed and felt the systemic effects of their loved
one’s losses and struggles. The number of people harmed is impossible to measure.

        Maxwell had many opportunities to come clean, but instead continued to make choices that
caused more harm. When my sister and I first spoke out to the media about what happened to us,
Maxwell lied about us and threatened Maria, thus helping shut down investigations into Epstein’s
behavior so they could together continue to harm children and young women. After this attempt
to alert people to Epstein and Maxwell’s abusive behavior, I avoided being public about it for
almost two decades. My shame told me that I should hide this fact because it was embarrassing.
Later, as I pursued my profession as a psychologist, I feared it could potentially ruin my career. I
worried clients would not want to work with me if I was associated with this story wrongly labeled
as one of “child prostitution.” I feared being on Epstein and Maxwell’s radar because of their
previous lies and threats.


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          Once arrested, Maxwell faced another choice. She could admit her participation in this
scheme, acknowledge the harm caused or even provide information that could have helped hold
others accountable. Instead, she again chose to lie about her behavior, causing additional harm to
all of those she victimized. For me, it meant having to be involved in this nearly two-year legal
process that involved reliving this painful experience over and over again. It was incredibly
stressful and interrupted my professional life as I missed sessions with my clients for court
appearances, trial prep, and meetings with attorneys. An uncertain and shifting trial schedule made
it difficult to plan anything. As the trial date drew closer, I scaled back my caseload, as I wasn’t
sure how it would impact me and how much work I’d have to miss. Then, during the trial, my
memories were repeatedly called into question, and I was publicly grilled on the details of the
trauma she perpetrated. Given the shame and self-doubt that these injuries had already caused, this
all felt like a retraumatization—one that could have been easily avoided had she told the truth.

        Judge Nathan, I hope when you consider the appropriate prison sentence for the role
Maxwell played in this sex trafficking operation, you take into account the ongoing suffering of
the many women she abused and exploited as we will continue to live with the memories of the
ways she harmed us. I hope you weigh the systemic effects of the crimes she perpetrated—the
ways that our family members, romantic partners, and friends have been hurt through our suffering.
I ask you to bear in mind how Maxwell’s unwillingness to acknowledge her crimes, her lack of
remorse, and her repeated lies about her victims created the need for many of us to engage in a
long fight for justice that has felt like a black hole sucking in our precious time, energy, and well-
being for much too long now. These things cannot be replaced.


                                       Respectfully,



                                       Sigrid S. McCawley




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In re: Ghislaine Maxwell, Statement for Consideration by “Kate”

I began writing this statement on Mother’s day, because, it has been my experience, that it was
only in becoming a mother, to a daughter, that gave me the courage and impetus to speak out
about the abuse I had suffered and made me understand the gravity and horror of what had
taken place.

It was, in fact, when my daughter was about 1 or 2, that I reached out to attorney Brad Edwards
and began to tell him the full extent of the heinous manipulation and abuse, instigated and
perpetuated by Ghislaine Maxwell. From the very first conversation, I was emphatic that
Ghislaine was the true enabler and facilitator of my abuse.

It has been proven to be true for me (and for many survivors of this kind of grooming and
insidious abuse with whom I have spoken), that the experience of looking at my own baby girl
and imagining her falling victim to such atrocities, awakened compassion in me for myself as a
young girl and for the many, many others who suffered because of Ghislaine Maxwell. It was this
experience that fueled a call to action.

 It was the very skilled grooming, perpetrated on me, intentionally and consistently, that instilled
in me, the belief that I could not say no to Ghislaine Maxwell, or Epstein.

I witnessed on numerous occasions, over many years, Ghislaine Maxwell trying to recruit other
girls and making consistent and insistent demands on me and others to do the same.

I witnessed her relentless and insatiable drive to meet the sexual needs of Epstein, at any cost to
the vulnerable girls and women, upon whom she preyed and fed to Epstein and other powerful
men, to whom she wished to ingratiate herself.

There was never any ambiguity or doubt about her having full knowledge of what was to take
place once she recruited girls.

The many acts that were perpetrated on me by Epstein, including rape, strangulation and sexual
assault, were never consensual, and would have never occurred, had it not been for the cunning
and premeditated role Ghislaine Maxwell played.

She repeatedly reinforced rewards for acquiescence and consequences for disobedience.

Being around her was like being spun really fast in a circle and then trying to maintain balance. It
was like a roller coaster ride, designed to disorient and disempower me as a vulnerable, young
girl, for the sole purpose of providing me to Epstein for sexual abuse.

The best way to imprison someone, is to make them create the prison bars in their own mind, to
instill enough fear to make sure they never risk leaving or disobeying and make the bars invisible
to everyone, so that no one can see their cage, or hear their silent screams.
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The consequences of what Ghislaine Maxwell did have been far reaching for me.
I have struggled with, and eventually triumphed over, substance use disorder.
I have suffered panic attacks and night terrors, with which I still struggle.
I have suffered low self esteem, loss of career opportunities.

I have battled greatly with feeling unable to trust my own instincts, in choosing romantic
relationships.

I have had a hard time identifying dangerous people or situations.

I have also suffered periods of disassociation.

At the age of 45, at 19 years of continuous sobriety and, after many years of engaging in different
modalities of therapy, I am beginning to see some light in deprogramming my own mind and
body from the messages I was programmed with, because of this abuse. What happened to me
at that young age changed the course of my life drastically, forever.

Speaking out about what happened to me opened me up to much criticism and forced me to
relive parts of my story that I would have preferred to have done privately, in the safety of trusted
individuals.

Testifying in this trial was both terrifying and retraumatizing.

I do not, however, regret it for one moment. There is nothing more important than protecting
the innocent and, if I was able to provide, in any way, information helpful to understanding the
nature of this type of abuse, as perpetrated by Ghislaine Maxwell, then my pain has had meaning
and therefore not been for naught.

I remain in deepest gratitude to the other women who came forward and to those who, for
whatever reason, didn’t or couldn’t.

I remain in deepest gratitude to the prosecutors who worked tirelessly to bring Ghislaine Maxwell
to justice, to protect the women who testified and to expose the grotesque malice with which
these crimes were committed.

I remain in deepest gratitude to the people of the jury, who gave up their time and energy, to be
part of this great judicial system, that saw a fair trial was executed.

I remain in deepest gratitude to Judge Nathan, for presiding so cautiously, fairly, and
deliberately.

I remain in deepest gratitude to my partner, friends and family, who tirelessly supported me
through this unnatural and traumatic time.

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Finally, I remain in deepest gratitude to my attorneys Brad Edwards and Brittney Henderson,
without whom this trial may never have come about.

To them I would like to say:

Thank you for listening when no one else would.
Thank you for never giving up on fighting for what is right.

Special thanks to Brad Edwards, for showing me that good men exist and fight for what is right,
no matter the cost.

In becoming, a mother I have learned that forgiveness is important, but so are consequences.


Kate




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                                                                                   Sigrid S. McCawley
                                                                           Telephone: (954) 356-0011
                                                                         Email: smccawley@bsfllp.com

                                          June 22, 2022
United States District Court
Southern District of New York
United States Courthouse
40 Foley Square
New York, New York 10007

       Re:     United States v. Ghislaine Maxwell, S2 20 Cr. 330 (AJN)

Dear Judge Nathan:

       I am counsel for Virginia Giuffre, and I am providing the following victim impact
statement for the Court’s consideration with respect to Maxwell’s sentencing.

        Pursuant to the Crimes Victims’ Rights Act, 18 U.S.C. Sec. 3771, Ms. Virginia Giuffre
qualifies as a victim as the Defendant participated in her trafficking from 2000 to 2002, and
testimony relating to that trafficking was presented as evidence during the trial in this case. Due
to a medical issue, Ms. Giuffre is unable to attend the sentencing in person and therefore
respectfully requests that the Court read her statement into the record or, alternatively, allow her
attorney representative Sigrid McCawley to read the statement on her behalf.

Statement by Virginia Giuffre:

        Your honor, my name is Virginia Roberts Giuffre. For more than two years, from age 16
to 19, I was abused by Ghislaine Maxwell. Before I begin, I want to acknowledge and profusely
thank the police, FBI investigators, prosecutors and judges who have invested their time and
integrity in this case to hopefully set a precedent for victims and the hunters who prey upon them.

       Now, if it pleases the court, I would like to address my victim impact statement directly to
Ghislaine Maxwell.

       Ghislaine, twenty-two years ago, in the summer of 2000, you spotted me at the Mar-a-Lago
Hotel in Florida, and you made a choice. You chose to follow me and procure me for Jeffrey
Epstein. Just hours later, you and he abused me together for the first time. Together, you damaged
me physically, mentally, sexually, and emotionally. Together, you did unthinkable things that still
have a corrosive impact on me to this day.

        I want to be clear about one thing: without question, Jeffrey Epstein was a terrible
pedophile. But I never would have met Jeffrey Epstein if not for you. For me, and for so many
others, you opened the door to hell. And then, Ghislaine, like a wolf in sheep’s clothing, you used
your femininity to betray us, and you led us all through it.
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       When you did that, Ghislaine, you changed the course of our lives forever. You joked that
you were like a new mother to us. As a woman, I think you understood the damage you were
causing—the price you were making us victims pay. You could have put an end to the rapes, the
molestations, the sickening manipulations that you arranged, witnessed and even took part in. You
could’ve called the authorities and reported that you were a part of something awful.

       I was young and naïve when we met, Ghislaine, but you knew that. In fact, you were
counting on it. My life as a young person was just beginning. You robbed me of that by exploiting
my hopes and ambitions.

       Ghislaine, the pain you have caused me is almost indescribable. Because of your choices
and the world you brought me into, I don’t sleep. Nightmares wake me at all hours. In those
dreams, I relive the awful things you and others did to me and the things you forced me to do.
Those memories will never go away. I have trouble meeting new people without questioning if
somehow they are going to hurt me, too. I don’t allow my children to stay over at friends’ houses,
or to walk down the street alone. I don’t trust anyone to be near them without me or my husband
close by. I am hyper-vigilant, because I know that evil exists. You taught me that.

         There is not a day that goes by that I don’t ask, “Why?” Why, Ghislaine, did you enjoy
hurting us so much? I worry every single day and night that you will get away with it and evade
being punished. I will worry about that until you are brought to justice. And what should that
justice look like? Ghislaine, you deserve to spend the rest of your life in a jail cell. You deserve to
be trapped in a cage forever, just like you trapped your victims.

        But Ghislaine, I want you to know that while you tried to break me, you didn’t succeed.
Despite you, I have grown into a woman who tries to do good in the world—a woman who, on her
best days, feels like she is making a difference. My promise to you is as follows: As long as you
and perpetrators like you continue to prey upon the vulnerable, I will not stop standing up and
speaking out. Together, with so many others you abused, we will do all we can to keep predators
from stealing the innocence of children. I will never give up. I will never go away. If you ever get
out of prison, I will be here, watching you, making sure you never hurt anyone else again.

       Thank you, your honor.




                                       Respectfully,



                                       Sigrid S. McCawley




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                                                                                    Sigrid S. McCawley
                                                                            Telephone: (954) 356-0011
                                                                          Email: smccawley@bsfllp.com

                                           June 22, 2022

The Honorable Alison J. Nathan
United States District Court
Southern District of New York
United States Courthouse
40 Foley Square
New York, New York 10007

       Re:     United States v. Ghislaine Maxwell, S2 20 Cr. 330 (AJN)

Dear Judge Nathan:

        I am counsel for Maria Farmer, and I am providing the following victim impact statement
for the Court’s consideration with respect to Maxwell’s sentencing.

        Pursuant to the Crimes Victims’ Rights Act, 18 U.S.C. Sec. 3771, Ms. Maria Farmer
qualifies as a victim as the Defendant participated in her trafficking in 1996. Due to a medical
issue, Ms. Farmer is unable to attend the sentencing in person, therefore she respectfully requests
that the Court read her statement into the record or, alternatively, allow her attorney representative
Sigrid McCawley to read the statement on her behalf.

Statement by Maria Farmer:

        My life was on a trajectory to be a well-known and well-respected artist when I was
derailed by Ghislaine Maxwell. I was studying with the phenomenal artists Eric Fischl and Chuck
Close, while doing art for Director James Brooks when I was held captive and assaulted by Jeffrey
Epstein and Ghislaine Maxwell on the Wexner estate in 1996. I was freshly graduated from a
Masters program in Art—something I worked towards all of my life. Ghislaine began threatening
my life and destroying my livelihood following my return from being falsely imprisoned at
Wexner’s.

        She wasn't happy just destroying my career, she also assured me my future was destroyed
and she did everything in her vast power to accomplish this goal. She threatened my family and
friends.

        I have severe PTSD and two cancers as a result of my forced solitude, poverty, and quality
of life while in hiding.

       The shame I associated with my art following Ghislaine's abuse was overwhelming. I
stopped painting. The thing is, this was never my shame to carry. I was a figurative artist doing
what artists do, paint. The beholders of my art, Epstein and Maxwell, perverted it into what they
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wanted. The art was always pure and beautiful, something I now recognize. Ghislaine, Epstein and
Wexner are the ones who should have carried the shame for perverting what was beautiful.

       It should be known that Ghislaine's impact on my life cannot be understated. Once she
gleaned from Vicky Ward (Vanity Fair) that I went to the FBI, my life no longer belonged to me.
Aside from living in poverty and obscurity, I have also now had to face public scrutiny as a whistle-
blower. I am bullied regularly.

        Ghislaine changed everything for the worse. She seemingly derailed me without thought,
after I got in her way. She assured me that I could be killed walking down my favorite path in
NYC. I never feel safe outside as a result of the massive trauma from being held captive by
Wexner’s thugs via Ghislaine and Jeffrey. Her threats have never left my mind and I believe she
will harm me if she ever has a way. Please keep this in mind when determining her terms of
imprisonment. She is a very dangerous and devious individual.



                                      Respectfully,



                                      Sigrid S. McCawley




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                                                                                   Sigrid S. McCawley
                                                                           Telephone: (954) 356-0011
                                                                         Email: smccawley@bsfllp.com

                                          June 22, 2022

The Honorable Alison J. Nathan
United States District Court
Southern District of New York
United States Courthouse
40 Foley Square
New York, New York 10007

       Re:     United States v. Ghislaine Maxwell, S2 20 Cr. 330 (AJN)

Dear Judge Nathan:

        I am counsel for Teresa Helm, and I am providing the following victim impact statement
for the Court’s consideration with respect to Maxwell’s sentencing.

        Pursuant to the Crimes Victims’ Rights Act, 18 U.S.C. Sec. 3771, Ms. Teresa Helm
qualifies as a victim as the Defendant participated in her trafficking in 2002. Ms. Helm thus
requests the Court’s permission to make an oral statement at the sentencing.

Statement by Teresa Helm:

        Ghislaine Maxwell, I was 22 years old when you entirely derailed the trajectory of my life.
You made a choice to view me as an individual less than you. You saw me as an object whose
only purpose was to be manipulated, used, abused, regarded as trash, and sent back from where I
came. You meticulously convinced me through your deceptive charm and conversation that you
were someone worthy of my bright and inspired young mind to look up to. You crafted your impact
on me. You groomed me. Then, you sent me off to another monster. I trusted you. You had
groomed me so well, I unsuspectingly walked myself to the home of that monster. I walked myself
to the home of that predator that hurt me. You manipulated and betrayed me into feeling and
believing that I was safe.

       One of the most devastating outcomes to you hurting me is how I then began to view and
treat myself. I began to view myself as unworthy of love. I began treating myself as the garbage I
was regarded as. My life got so dark, the despair so intense, I nearly did not make it out alive. Do
you even remember me?

       I am on the outside of prison walls. Freedom. Yet, I will forever fight for the freedom that
you callously stole from me.
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Teresa J. Helm. Remember my face. Hear my voice. Remember my name.


                          Respectfully,



                          Sigrid S. McCawley




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                                                                                   Sigrid S. McCawley
                                                                           Telephone: (954) 356-0011
                                                                         Email: smccawley@bsfllp.com

                                          June 22, 2022

The Honorable Alison J. Nathan
United States District Court
Southern District of New York
United States Courthouse
40 Foley Square
New York, New York 10007

       Re:     United States v. Ghislaine Maxwell, S2 20 Cr. 330 (AJN)

Dear Judge Nathan:

        I am counsel for Juliette Bryant, and I am providing the following victim impact statement
for the Court’s consideration with respect to Maxwell’s sentencing.

        Pursuant to the Crimes Victims’ Rights Act, 18 U.S.C. Sec. 3771, Ms. Juliette Bryant
qualifies as a victim as the Defendant participated in her trafficking from 2022 to 2004. Ms. Bryant
was unable to leave her small child to travel from South Africa for the sentencing hearing and is
therefore, unable to attend. Ms. Bryant therefore respectfully requests that the Court read her
statement into the record or, alternatively, allow her attorney representative Sigrid McCawley to
read the statement on her behalf.

Statement by Juliette Bryant:

        Simply put, Ghislaine Maxwell is a monster. Ever since she and Jeffrey Epstein got their
hands on me, I have never felt okay. Thinking about them still gives me frequent panic attacks and
night terrors. All of the victims, including myself, are eternally grateful for everyone that has
helped expose these criminals.

       I appreciate Your Honor imposing the maximum sentence available.



                                      Respectfully,



                                      Sigrid S. McCawley
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